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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF ILLINOIS

MICHAEL DAY                                   )
                                              )       Cause No: 21-cv-1452
Plaintiff,                                    )
                                              )       JURY TRIAL DEMANDED
v.                                            )
                                              )
CARBONDALE PARK DISTRICT                      )
                                              )
                                              )
Defendant.                                    )


        PLAINTIFF’S MOTION FOR AN EXTENSION OF TIME TO RESPOND TO
                      DEFENDANTS MOTION TO STRIKE

        NOW COMES Plaintiff, Michael Day (“Plaintiff”), by and through his attorneys, Kennedy

Hunt, P.C., and for his Motion for Extension of Time to Respond to Defendant Motion to Strike,

states as follows:

     1. Plaintiff filed his Complaint on November 18, 2021.

     2. Defendants filed a Motion for an extension to file their Answer to Plaintiff’s Complaint on

December 13, 2021. This Motion was granted, and Defendant filed its Answer on December 28,

2021.

     3. Defendant then also filed a Motion to Strike on December 27, 2021.

     4. Plaintiff’s response to Defendant’s Motion to Strike is due January 10, 2022.

     5. Due to the recent holiday season, and the recent pandemic surge caused by the Omicron

variant, Plaintiff and firm staff have been off on vacation and then had to take additional sick time

off from work due to illness.

     6. Plaintiff needs additional time to research and respond to Defendant’s Motion to Strike.

An extension until February 10, 2022, within which to file a response to Defendant’s Motion to

Strike, would enable Plaintiff to properly evaluate and prepare his response.

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   7. Defendant will not be prejudiced by such an extension.

       WHEREFORE, Plaintiff prays this Court extend the time within which he shall respond to

the Defendant’s Motion to Strike as follows: Plaintiff shall file his response on or before Thursday,

February 10, 2022, and for any such other relief as this Court deems just and proper.



                                                      Respectfully submitted, by:

                                                      KENNEDY HUNT, P.C.

                                                      /s/ Sarah Jane Hunt
                                                      Thomas E. Kennedy, III, #1445960
                                                      Sarah Jane Hunt, #6316235
                                                      4500 West Pine Blvd.,
                                                      St. Louis, Missouri 63108
                                                      Telephone: (314) 872-9041
                                                      Fax: (314) 872-9043
                                                      tkennedy@kennedyhuntlaw.com
                                                      sarahjane@kennedyhuntlaw.com
                                                      Counsel for Plaintiff




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                                   CERTIFICATE OF SERVICE

       I hereby certify that, on January 4, 2022, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system, which will send notification of such filing to the

attorneys of record, as follows:


D. Brian Smith, #6287431
Jonathan A. Mitchell, #6281995
FEIRICH/MAGER/GREEN/RYAN
2001 West Main Street
P.O. Box 1570
Carbondale, Illinois 62903
Phone: 618-529-3000
Fax: 618-529-3008
bsmith@fmgr.com
jmitchell@fmgr.com
Counsel for Defendants

                                      /s/ Sarah Jane Hunt__________




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